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                                                                                   2022 Mar-09 AM 11:22
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

D’WANNA WILLIAMS,

      Plaintiff,
                                              CASE NO: 2:22-cv-00153-GMB
vs.

MORROW BROTHERS, LLC,

     Defendant.
__________________________________/

                   NOTICE OF VOLUNTARY DISMISSAL

      Plaintiff, by and through undersigned counsel, pursuant to Rule 41(a) of the

Federal Rules of Civil Procedure, requests this Court to dismiss the above-styled

case with prejudice, per the settlement agreement entered into between the parties.

Except as contained in the settlement agreement of the parties, each party shall

bear its own attorneys’ fees, costs, and expenses.


      Respectfully submitted this 9th day of March, 2022,


                                                      s/ Edward I. Zwilling
                                                     Edward I. Zwilling
                                                     Al Bar No. ASB-1565-L54E
OF COUNSEL:
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Email: edwardzwilling@zwillinglaw.com
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                          CERTIFICATE OF SERVICE

       I hereby certify that on this, the 9th day of March, 2022, I have electronically
filed the foregoing with the Clerk of the Court using the CM-ECF system which will
send notification of such filing to the following counsel of record at the email address
registered with CM-ECF. A copy has been emailed to counsel for Defendant who
has not filed an appearance, Rui Zhang, Esq., at rui@zhangmingeelaw.com



                                               s/ Edward I. Zwilling
                                               Edward I. Zwilling
